829 F.2d 1126
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Dennis L. MAXBERRY, Plaintiff-Appellant,v.COALITION FOR THE HOMELESS, Defendant-Appellee.
    No. 87-3335
    United States Court of Appeals, Sixth Circuit.
    September 24, 1987.
    
      ORDER
      Before CORNELIA G. KENNEDY and KRUPANSKY, Circuit Judges, and BAILEY BROWN, Senior Circuit Judge.
    
    
      1
      This pro se plaintiff seeks review of a judgment of the district court which dismissed his civil rights action filed pursuant to 42 U.S.C. Sec. 1983.  Upon examination of the record and plaintiff's brief, the panel agrees unanimously that oral argument is not needed.  Rule 34(a), Federal Rules of Appellate Procedure.
    
    
      2
      For the reasons stated in the district court's order, its final judgment entered March 18, 1987, is hereby affirmed.  Rule 9(b)(5), Rules of the Sixth Circuit.
    
    